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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

   UNITED STATES OF AMERICA

   v.                                       Case No. 6:20-cr-97-GAP-LRH

   JOEL MICAH GREENBERG

                           NOTICE OF APPEARANCE

         The United States of America, by Karin Hoppmann, Acting United

   States Attorney for the Middle District of Florida, files this Notice of

   Appearance of the undersigned as co-counsel for the United States. Assistant

   United States Attorney Julie A. Simonsen has been assigned in this case to

   collect the defendant’s criminal monetary penalties.

                                            Respectfully submitted,

                                            KARIN HOPPMANN
                                            Acting United States Attorney

                                     By:    s/ Julie A. Simonsen
                                            JULIE A. SIMONSEN
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                            CERTIFICATE OF SERVICE

          I certify that on November 12, 2021, I electronically filed the foregoing

   with the Clerk of Court by using the CM/ECF system, which will send a

   notice of electronic filing to all parties of record.

                                              s/ Julie A. Simonsen
                                              JULIE A. SIMONSEN
                                              Assistant United States Attorney
